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UNITED STATES DISTRICT COURT
FOR 'I`HE DISTRICT OF NEW MEXICO

 

 

 

 

UNITED STATES OF AMERICA,

Plaintiff,
v.

Nc). 1:14-er-02563-PJK~1

MELVIN RUS SELL,

Defendant,

VERDICT
WE, THE JURY, find the defendant, Melvin Russell, ()1\/\\` [ '|"\/ ,

 

(not guilty or/gui]ty)
of aggravated Sexual abuse as charged in the superseding indictment

DATED this f 0 day lof May 2018, at Albuquerque, New Mexieo.

/'/
' Foreperson

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